             Case 16-70046-JAD                    Doc        Filed 07/01/19 Entered 07/01/19 17:42:00                              Desc Main
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 Fill in this information to identify the case:
 Debtor 1    Merrett C Adams* Linda Wolfe POA

 Debtor 2

 (Spouse, if filing)

 United States Bankruptcy Court for the WESTERN District of PENNSYLVANIA

 Case number 16-70046-JAD

Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                   12/15
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor: LSF9 MASTER PARTICIPATION TRUST                                 Court claim no. (if known): 2-2

Last 4 digits of any number you use to                                            Date of payment change: 9/1/2019
identify the debtor’s account: 4908                                               Must be at least 21 days after date
                                                                                  of this notice

                                                                                  New total payment: $432.90
                                                                                  Principal, interest, and escrow, if any

 Part 1:       Escrow Account Payment Adjustment

 1.      Will there be a change in the debtor’s escrow account payment?

         □ No.
         ■ Yes.         Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                        the basis for the change. If a statement is not attached, explain why:
                        _______________________________________________________________________________________________________
                        _____________________________________

         Current escrow payment: $177.89                             New escrow payment: $158.75


 Part 2:       Mortgage Payment Adjustment

 2.      Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
          variable-rate account?

         ■ No
         □ Yes.        Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
                         explain why:
                         _______________________________________________________________________________________________________
                         __________________________________________________________________________________

         Current interest rate:                                    New interest rate:

         Current principal and interest payment:           New principal and interest payment:


 Part 3:       Other Payment Change

 3.      Will there be a change in the debtor's mortgage payment for a reason not listed above?

         ■ No
         □ Yes         Attach a copy of any document describing the basis for the change, such as a repayment plan or loan modification agreement.
                       (Court approval may be required before the payment change can take effect.)

                       Reason for change: ________________________________________________________________________________

         Current mortgage payment                           New mortgage payment:




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 Debtor 1 Merrett C Adams* Linda Wolfe POA                                 Case number (ff known) 16-70046-JAD
            Print Name             Middle Name   Last Name




               Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

 Check the appropriate box.
      □ I am the creditor

      ■    I am the creditor's authorized agent.

 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.

  JC /s/    Ashlee Fogle                                Date     06/27/2019
     Signature



  Print                         Ashlee Fogle                                                                Title   Authorized Agent for Creditor
                         First Name                     Middle Name       Last Name


  Company                RAS Crane, LLC


  Address                10700 Abbott's Bridge Road, Suite 170
                         Number       Street


                         Duluth GA 30097
                         City                                                 State        ZIP Code

  Contact Phone 470-321-7112                                                                                Email      afogle@rascrane com




Official Form 41051                                          Notice of Mortgage Payment Change                                                      page 2
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                                            CERTIFICATE OF SERVICE
               I HEREBY CERTIFY that on -------------------------�
                                                   July 1, 2019
I electronically filed the foregoing with the Clerk of Court using the CM/ECF system, and a true and correct copy has
been served via CM/ECF or United States Mail to the following parties:
Lawrence W. Willis
Willis & Associates
201 Penn Center Blvd
Suite 310
Pittsburgh, PA 15235

Ronda J. Winnecour
Suite 3250, USX Tower
600 Grant Street
Pittsburgh, PA 15219

Office of the United States Trustee
Liberty Center.
1001 Liberty Avenue, Suite 970
Pittsburgh, PA 15222

Merrett C Adams* Linda Wolfe POA
658 Bethel Church Road
Marion Center, PA 15759

                                                                           RAS Crane, LLC
                                                                           Authorized Agent for Secured Creditor
                                                                           10700 Abbott's Bridge Road, Suite 170
                                                                           Duluth, GA 30097
                                                                           Telephone: 470-321-7112
                                                                           Facsimile: 404-393-1425

                                                                           By:-----------
                                                                              /s/ Dena Eaves
                                                                              Dena Eaves
                                                                              deaves@rascrane.com




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